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                           EXHIBIT "A"
                                                                               *20-000042126*
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                                                                                             *20-000042126*




UNDERWRITERS AT LLOYD'S OF LONDON                             CASE #:          CACE-20-002893
SUBSCRIBING TO POLICY NUMBER 187581                           COURT:           17TH JUDICIAL CIRCUIT
                                                              COUNTY:          BROWARD
PLAINTIFF(S)                                                  DFS-SOP #:       20-000042126

VS.

UNDERWRITERS AT LLOYD'S OF LONDON
SUBSCRIBING TO POLICY NUMBER 187581

DEFENDANT(S)
_______________________________________/
SUMMONS, COMPLAINT, EXHIBIT




                          NOTICE OF SERVICE OF PROCESS
NOTICE IS HEREBY GIVEN of acceptance of Service of Process by the Chief Financial Officer of the
State of Florida. Said process was received in my office by ELECTRONIC DELIVERY on Tuesday,
February 18, 2020 and a copy was forwarded by ELECTRONIC DELIVERY on Wednesday, February
19, 2020 to the designated agent for the named entity as shown below.


         UNDERWRITERS AT LLOYD'S, LONDON
         BARBARA DEMOSTHENE
         280 PARK AVENUE, EAST TOWER 25TH FLOOR
         NEW YORK, NY 10017




*Our office will only serve the initial process(Summons and Complaint) or Subpoena and is not responsible
for transmittal of any subsequent filings, pleadings, or documents unless otherwise ordered by the Court
pursuant to Florida Rules of Civil Procedure, Rule #1.080




                                                               Jimmy Patronis
                                                               Chief Financial Officer
cc to:


RONALD JOSEPH ANANIA
ATTORNEY
LAW OFFICES RONALD J. ANANIA, P.A.
10910 SW 10TH COURT
DAVIE, FL 33324                                                                                      JJ1




                                 Office of the General Counsel - Service of Process Section
                    200 East Gaines Street - P.O. Box 6200 - Tallahassee, FL 32314-6200 - (850)413-4200
                 RECEIVED AS STATUTORY REGISTERED AGENT
on 18 February, 2020 and served on defendant or named party on 19 February, 2020
                  by the Florida Department of Financial Services
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